      Case 1:20-cr-00010-JPW Document 90 Filed 01/21/21 Page 1 of 1




            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA               :   Crim. No. 1:20-CR-0010
                                       :
                                       :
                v.                     :
                                       :
JAMES LARNERD and                      :
REBECCA SWIFT                          :    Judge Jennifer P. Wilson

                                  ORDER

     AND NOW, on this 21st day of January, 2021, for the reasons set forth in

the accompanying memorandum, IT IS ORDERED THAT:

      1. The motion to suppress evidence to filed by Defendant James Larnerd,

         Doc. 46, is DENIED.

      2. The motion to suppress evidence filed by Defendant Rebecca Swift,

         Doc. 56, is DENIED.



                                           s/Jennifer P. Wilson
                                           JENNIFER P. WILSON
                                           United States District Court Judge
                                           Middle District of Pennsylvania
